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                        IN THE UNITED STATES DISTRICT COURT
                          STATE OF UTAH, CENTRAL DIVISION


   ESTATE OF PATRICK HARMON SR.;
   PATRICK HARMON II, as Personal
   Representative of the Estate of Patrick
   Harmon Sr., and heir of Patrick Harmon Sr.,
                                                   EXHIBITS TO DEFENDANTS' MOTION
   TASHA SMITH, as heir of Patrick Harmon,
                                                       FOR SUMMARY JUDGMENT
   Sr.,
                                                       Case No. 2:19-cv-00553-HCN-CMR
                 Plaintiffs,
                                                       District Judge Howard C. Nielson, Jr.
          vs.
                                                       Magistrate Judge Cecilia M. Romero
   SALT LAKE CITY, a municipality; and
   OFFICER CLINTON FOX, in his individual
   capacity,

                 Defendants.
